Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 1 of 14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 2 of 14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 3 of 14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 4 of 14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 5 of 14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 6 of 14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 7 of 14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 8 of 14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 9 of 14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 10 of
                                       14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 11 of
                                       14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 12 of
                                       14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 13 of
                                       14
Case 1:24-cr-20008-DSL Document 160-1 Entered on FLSD Docket 05/22/2025 Page 14 of
                                       14
